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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

GARY M. LAGER, ET AL,         )
                              )
                  Plaintiffs, )
                              )
vs.                           )                    Case No. 3:22-cv-155-DWD
                              )
EQUIFAX INFORMATION SERVICES, )
LLC, ET AL,                   )
                              )
                  Defendants. )

                           JUDGMENT IN A CIVIL ACTION

DUGAN, District Judge:

      IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order of July 8,

2022 (Doc. 32), reflecting settlement between the parties, this action is DISMISSED with

prejudice with each party to bear its own costs.

      IT IS SO ORDERED.

      DATED: September 8, 2022

                                         MONICA A. STUMP, Clerk of Court

                                         s/ Dana M. Winkeler
                                         Deputy Clerk

Approved: s/ David W. Dugan
David W. Dugan, U.S. District Judge




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